
MEMORANDUM *
Willard Westfall appeals from the district court’s decision affirming the bankruptcy court’s order striking his class proof of claim in the liquidation of Mil Liquidation, Inc. and its subsidiary, AHP Liquidation, LLC.1 Westfall’s appeal is moot because this court cannot fashion an effective remedy under the terms of the confirmed and substantially implemented plan of liquidation. See In re Focus Media, Inc., 378 F.3d 916, 922-23 (9th Cir.2004); In re Roberts Farms, Inc., 652 F.2d 793, 797-98 (9th Cir.1981): Furthermore, because Westfall abandoned his direct appeal of the confirmation order and failed to obtain a stay of the bankruptcy proceedings in this appeal, and because any remedy would adversely effect the interests of third party creditors not before the court, his claim is equitably moot. See Roberts Farms, 652 F.2d at 798; In re Combined Metals Reduction Co., 557 F.2d 179, 187-93 (9th Cir.1977); see also In re Baker &amp; Drake, Inc., 35 F.3d 1348, 1351-52 (9th Cir.1994).
DISMISSED.

 This disposition is not appropriate for publication and is not precedent except as provided by 9th Cir. R. 36-3.


. Appellee's Request for Judicial Notice and Appellant's Request for Judicial Notice dated February 20, 2009 are both granted.

